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August 5, 2011

Hon. Esther Salas

United States District Judge

Martin Luther King, Jr., Federal Building & Courthouse
50 Walnut Street

Newark, N.J. 07102

Re: NVE, Inc. v. Palmeroni, et al.
Civil Action No. 06-5455 (ES)
Our File No. 6026-044

Dear Judge Salas:

We represent the plaintiff, N.V.E., Inc., in this case which was recently
reassigned to you from Chief Judge Brown following your elevation to the District Court.
The Court is, however, familiar with this matter based on proceedings before you as a
Magistrate Judge. On May 26, 2011, Your Honor granted a motion to withdraw by prior
counsel for defendant Jesus Palmeroni and gave Mr. Palmeroni until June 30, 2011. to
either retain new counsel or to proceed pro se.

It is now August, no counsel has entered an appearance on behalf of Mr.
Palmeroni and he is proceeding pro se in this matter. We seek the Court’s guidance as
to whether we should address outstanding discovery matters with the Court or whether
this case has been assigned to a new Magistrate Judge to whom we should raise these
issues. These matters include requests for permission to file motions to quash
subpoenas made by both parties in April 2011 (Docket ##’s 188 and 190), consideration
of which was delayed by the Court pending the motion of Palmeroni’s counsel to
withdraw.

In an effort to move this case forward and obtain needed discovery, plaintiff
N.V.E., Inc., seeks to:

1) submit an Order to the Court that will lift the temporary stay on five
subpoenas issued by N.V.E., Inc., in March 2011, to the following:

a) Lakeland Bank — to secure information on all accounts maintained by
defendant Jesus Palmeroni;

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b) American Express Centurion Bank - to secure information on all accounts
maintained by defendant Jesus Palmeroni;

c) E-Trade Bank - to secure information on all accounts maintained by
defendant Jesus Palmeroni;

d) Lakeland Bank - to secure information on all accounts maintained by
defendant Michele Hooey as well as Michele Hooey’s employment
records:

e) Pennstar Bank - to secure information on all accounts maintained by
defendant Michele Hooey; and

2) file a Motion to Quash a subpoena which was served by the former attorneys
for Jesus Palmeroni on Parillo Russo & Grill, LLC, former accountants for
NVE and Robert Occhifinto seeking tax information that the Court has
already determined is beyond the scope of this case or is otherwise
irrelevant.

On July 28, 2011, the Clerk entered default against Jesus Palmeroni, Michele
Hooey a/k/a Michele Palmeroni, and Mr. Palmeroni’s two companies, National Retai!
Consulting Group, Inc. and Global Marketing & Sales Group, LLC, due to their failure to
plead or otherwise defend. Despite defendants’ attempt to delay this matter further, we
recognize the need to move forward to judgment. We therefore request that the Court
allow us to proceed with these long standing discovery subpoenas so that we may
compile necessary financial and other information.

We respectfully request that the Court allow us to file an appropriate Order
advising the entities listed above that they may release all documents requested in the
subpoenas that they received. In addition, we request that we be allowed to file the
Motion to Quash the subpoena served on behalf of defendant Paimeroni. In the
alternative, we ask that the Court advise us as to which Magistrate Judge we should
make this application.

Thank you for your consideration of these requests.

Respectfully submitted,

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AIDAN P.. O’CONNOR

Cc: Mr. Jesus Palmeroni (via e-mail and regular and certified mail, RRR)
Mr. Erling Jensen, CFO, N.V.E., Inc.
